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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


RICHARDO ANDRES MONTANO NIEMES,


v.                                      Case No. 8:04-cr-238-T-17TBM
                                                 8:06-cv-763-T-17TBM


UNITED STATES OF AMERICA.



                                         ORDER

       This cause is before the Court on Defendant Niemes' 28 U.S.C. § 2255 motion to

vacate, set aside, or correct an allegedly illegal sentence. Doc. cv-1; cr-319.

                                 PROCEDURAL HISTORY

       On May 19, 2004, a grand jury in the Middle District of Florida returned an indictment

charging Richardo Andres Montano Niemes with possessing with intent to distribute at least

five kilograms of cocaine on board a vessel subject to United States jurisdiction, in violation

of 46 U.S.C. app. § 1903(g) and 21 U.S.C. § 960(b)(1)(B)(ii), and conspiracy to do the

same, in violation of 46 U.S.C. app. § 1903(j) and 21 U.S.C. § 960(b)(1)(B)(ii). Doc. cr-1.

       On December 16, 2004, after entering into a plea agreement with the Government

(Doc. cr-97), Niemes pled guilty to Count Two of the Indictment. Doc. cr-115. In his plea

agreement, Niemes waived his right to appeal, directly or collaterally, his sentence except

to the extent that the sentence imposed included an upward departure from the sentencing

guidelines, was in excess of the statutory maximum, or was in violation of the law apart

from the sentencing guidelines:
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       [T]he defendant . . . expressly waives the right to appeal [his] sentence,
       directly or collaterally, on any ground . . . except for (a) an upward departure
       by the sentencing judge (b) a sentence above the statutory maximum; or (c)
       a sentence in violation of other law apart from the sentencing guidelines . .

Doc. cr-97 at 10-11.

       In his plea agreement, Niemes agreed to cooperate fully with the Government. If the

cooperation was completed prior to sentencing, the Government agreed to consider

whether such cooperation qualified as "substantial assistance" and if so, to file a motion

recommending a downward departure, pursuant to USSG § 5K1.1. If the cooperation was

completed after sentencing, the Government agreed to consider whether the cooperation

qualified as “substantial assistance” and if so, to file a motion for reduction of sentence

pursuant to Fed. R. Crim. P. 35(b). Doc. cr-97 at 4 (emphasis added).

       On December 16, 2004, during Niemes' change of plea hearing, this Court reviewed

with Niemes the waiver of his right to appeal, directly or collaterally his sentence, and asked

whether he understood. Doc. cr-328 at 21-23. Niemes responded affirmatively. Id. at 23.

The Court also asked if he had been promised anything other than what was in the plea

agreement; if anyone had promised him any particular sentence; or if anyone had

threatened him in any way or coerced him into pleading guilty. Id. at 23-24. He responded

no to all these questions. Id.

       In addition, the Court reviewed the substantial assistance provision with Niemes.

Doc. cr-328 at 16-17. The Court advised Niemes that the language of the plea agreement

clearly left the matter of substantial assistance to the discretion of the prosecutor, and that

it was possible that on sentencing day he would argue that he had cooperated, but absent

the prosecutor's making a recommendation for a reduction, Niemes was not going to get

the benefit of his cooperation. The Court asked Niemes, if he understood, and he
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responded yes. Doc. cr-328 at 17. During this hearing, Niemes was assisted by a Spanish

interpreter. Doc. cr-328 at 4.

       On June 2, 2005, the Government filed a motion for downward departure of Niemes'

sentence based upon substantial assistance. Doc. cr-165. In its motion, the Government

specifically stated that (a) the defendant had fully and substantially given information on his

role and that of his co-defendants; (b) he identified other organizers and described in detail

the entire operation; (c) had agreed to testify against the other defendants if the case had

gone to trial; and (d) his efforts resulted in one of his co-defendants pleading guilty. The

Government recommended he receive a two level reduction in his offense level. Id.

       On June 2, 2005, during Niemes' sentencing hearing, Niemes' counsel argued that

based on Niemes' cooperation, he should receive a reduction greater than two levels and

that he return "in another couple of years" on a Rule 35. Doc. cr-331 at 11-12. The Court

granted the Government’s motion for a two-level reduction stating that the best thing to do

was to leave the reduction at two levels, and if further development would justify a Rule 35,

it would take it into consideration at that time. Id. at 14.

       The court then sentenced Niemes to 135 months imprisonment (with credit for time

served); and 60 months of supervised release. Doc. cr-168, 179. Niemes did not file an

appeal. On April 25, 2006, Niemes filed a timely Motion to Vacate under 28 U.S.C. § 2255

with a Memorandum of Law. Doc. cv-1, cv-2. Niemes raised the following claim:

       Ground One: Niemes' counsel was ineffective because he has failed to
       inform the court of Niemes' substantial assistance. Niemes also asserts as
       part of his argument that the Government has not fulfilled its agreement to
       seek a downward departure for his substantial assistance. Doc. cv-2 at 5-6.



                                        DISCUSSION
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       Niemes' claims of ineffective assistance of counsel and breach of the plea

agreement have no merit.

       Niemes claims his counsel was ineffective because counsel did not inform the Court

of Niemes' substantial assistance, which, according to Niemes, would result in a significant

reduction of his sentence. Doc. cv-2 at 5. In the instant case, the district court questioned

Niemes during the Rule 11 colloquy, and Niemes' responses to the district court’s inquiry

demonstrate that Niemes understood the plea agreement and the appeal waiver. Doc. cr-

328 at 21-23. The record shows that Niemes was assisted by a Spanish Interpreter during

his plea hearing. Doc. cr-328 at 4. Niemes responded to each question he was asked. Doc.

cr-328 at 21-23.

       At the conclusion of the hearing, the Court found that Niemes (a) was coherent; (b)

understood the allegations made against him and the potential punishment ; (c) understood

the rights he was giving up by voluntarily waiving them; and (d) entered into the plea “freely

and voluntarily with an understanding of the consequences.” Doc. cr-328 at 32. The Court

also found that the plea was supported by a factual basis, and that Niemes was satisfied

with his lawyer’s advice and representation. Id.

                         Ineffective Assistance of Counsel Claim

       Niemes' ineffective assistance of counsel claim is not only waived, but also lacks

merit. The Sixth Amendment right to counsel is the right to effective assistance of counsel.

McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The benchmark for judging any

claim of ineffective assistance of counsel, however, is whether counsel’s conduct so

undermined the proper functioning of the adversarial process that the trial cannot be relied

on as having produced a just result. Strickland v. Washington, 466 U.S. 668, 688 (1984);
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see also Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1984). Because a lawyer

is presumed to be competent to assist a defendant, the burden is on the accused to

demonstrate the denial of the effective assistance of counsel. United States v. Cronic, 466

U.S. 648, 658 (1984).

       Ineffectiveness of counsel may be grounds for vacating a conviction if (1) counsel’s

performance fell below an objective standard of reasonable professional assistance and

(2) the defendant was prejudiced by the deficient performance. Strickland, 466 U.S. at 687,

694. “There is no reason for a court deciding an ineffective assistance claim . . . to address

both components of the inquiry if the defendant makes an insufficient showing on one.”

Strickland, 466 U.S. at 697. Thus, if the defendant fails to show that he is prejudiced by the

alleged errors of counsel, this Court may reject the defendant’s claim without determining

whether the counsel’s performance was deficient. See Coulter v. Herring, 60 F.3d 1499,

1504 n.8 (11th Cir. 1995). For performance to be deficient, it must be established that, in

light of all the circumstances, counsel’s performance was outside the wide range of

professional competence. See Strickland, 466 U.S. at 690.

       At Ground One, Niemes claims his counsel is ineffective because he has not

informed the court of Niemes' substantial assistance, which could result in a substantial

reduction of his sentence. Doc. cv-1 at 5. Niemes' counsel is not inefficient for failing to file

a 5K1.1. or a rule 35 motion. The plea agreement clearly states that the decision whether

to file a “substantial assistance” motion was the Government’s alone and at his plea

hearing, Niemes acknowledged that he understood that. Doc. cr-97 at 4-5; cr-328 at 17.

       Niemes also claims the Government has failed to seek a downward departure on

his behalf as agreed upon and that he should be able to “assert a right to specific
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performance of the agreement in light of his substantial assistance to the Government...”.

Id. The Government interprets these allegations as a subtle claim of breach of plea

agreement. Breach of a plea agreement raises serious due process concerns. United

States v. Castellanos, 904 F.2d 1490, 1496-97 (11th Cir. 1990) (citing Santobello v. New

York, 404 U.S. 257, 262 (1971) and United States v. Pellitier, 898 F.2d 297, 302 (2d Cir.

1990)). "[W]hen a plea sets in any significant degree on a promise or agreement of the

prosecutor, so that it can be said to be part of the inducement or consideration, such

promise must be fulfilled." Santobello, 404 U.S. at 262. When a breach is alleged and

disputed, the Court should consider, using an objective standard, "whether the

Government's actions are inconsistent with what the defendant reasonably understood

when he entered his guilty plea." In re Arnett, 804 F.2d 1200, 1202-03 (11th Cir. 1986);

United States v. Nelson, 837 F.2d 1519, 1521-22 (11th Cir. 1988). Examined objectively,

the Government's actions were not inconsistent with what Niemes reasonably understood

when he entered his plea.

       In this case, the Government has not breached the plea agreement. In paragraph

9 of the plea agreement, the Government agreed that it would "consider” whether Niemes'

cooperation qualified as “substantial assistance” and if it did, the Government would file a

§ 5k.1. motion, if cooperation were completed prior to sentencing, or a Fed. R. Crim. P.

35(b) motion, if cooperation were completed after sentencing. Doc. cr-97 at 4. The record

shows that the Government did, in fact, file a § 5K1.1 motion which was granted. Doc. cr-

165 and 170. While Niemes has continued to cooperate, that cooperation has not been

completed. Once the cooperation is complete, the Government, as agreed upon in the plea

agreement, will consider if that cooperation raises to the level of substantial assistance, and
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if so, will file a Rule 35 motion. Based on the record now before this Court, Niemes has not

established any entitlement to relief based on ineffective assistance of counsel or breach

of plea agreement. Both claims are without merit.

       In his reply, Niemes seeks to have the Court hold his 2255 motion "under

advisement until the receipt of further information regarding the final results" of his

cooperation; to seal the 2255 motion; and to grant any other relief the Court feels just.

       Because Niemes' 2255 claims have no merit, the Court declines to grant the relief

Niemes seeks in the reply.

       Accordingly, the Court orders:

       That Niemes' motion to vacate (Doc. cv-1; cr-319) is denied, with prejudice. The

Clerk is directed to enter judgment against Niemes in the civil case and to close that case.

                      CERTIFICATE OF APPEALABILITY AND
                  LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHER ORDERED that defendant is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must

first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).

To make such a showing, defendant “must demonstrate that reasonable jurists would find

the district court's assessment of the constitutional claims debatable or wrong,” Tennard

v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

or that “the issues presented were ‘adequate to deserve encouragement to proceed further,

’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these
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circumstances.

      Finally, because Defendant is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

      ORDERED at Tampa, Florida, on January 31, 2007.




AUSA: Arthur Lee Bentley, III
Pro se: Richardo Andres Montano Niemes
